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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF COLORADO

Civil Action No.: ______


Chad Westrum,

         Plaintiff,

v.

Wells Fargo Bank, N.A.,

         Defendant.


                                           COMPLAINT


        For this Complaint, Plaintiff, Chad Westrum, by undersigned counsel, states as follows:

                                          JURISDICTION

        1.      This action arises out of Defendant’s repeated violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”).

        2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant

transacts business in this District and a substantial portion of the acts giving rise to this action

occurred in this District.

                                              PARTIES

        3.      Plaintiff, Chad Westrum (“Plaintiff”), is an adult individual residing in Denver,

Colorado, and is a “person” as defined by 47 U.S.C. § 153(39).

        4.      Defendant Wells Fargo Bank, N.A. (“WFB”), is a South Dakota business entity

with an address of 101 North Phillips Avenue, Sioux Falls, South Dakota 57104, and is a

“person” as defined by 47 U.S.C. § 153(39).
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                                              FACTS

         5.    Within the last year, WFB began calling Plaintiff’s cellular telephone, number

720-xxx-9903, using an automatic telephone dialing system (“ATDS” or “predictive dialer”)

and/or using an artificial or prerecorded voice.

         6.    When Plaintiff answered calls from WFB, he heard a prerecorded message.

         7.    On or about January 26, 2017, Plaintiff spoke with WFB and requested that all

calls to him cease.

         8.    Nevertheless, WFB continued to place automated calls to Plaintiff’s cellular

telephone number.

                                   COUNT I
         VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                             47 U.S.C. § 227, et seq.

         9.    Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

         10.   At all times mentioned herein, Defendant called Plaintiff’s cellular telephone

number using an ATDS or predictive dialer and/or using a prerecorded or artificial voice.

         11.   Defendant continued to place automated calls to Plaintiff’s cellular telephone

number despite knowing that it lacked consent to do so. As such, each call placed to Plaintiff

was made in knowing and/or willful violation of the TCPA, and subject to treble damages

pursuant to 47 U.S.C. § 227(b)(3)(C).

         12.   The telephone number called by Defendant was assigned to a cellular telephone

serviced by Sprint for which Plaintiff incurs charges pursuant to 47 U.S.C. § 227(b)(1).

         13.   Plaintiff was annoyed, harassed and inconvenienced by Defendant’s continued

calls.

         14.   The calls from Defendant to Plaintiff were not placed for “emergency purposes”

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as defined by 47 U.S.C. § 227(b)(1)(A)(i).

       15.    Plaintiff is entitled to an award $500.00 in statutory damages for each call placed

in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

       16.    Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00

pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that judgment be awarded in his favor and

against Defendant as follows:

              1. Statutory damages of $500.00 for each violation determined to be negligent

                  pursuant to 47 U.S.C. § 227(b)(3)(B);

              2. Treble damages for each violation determined to be willful and/or knowing

                  pursuant to 47 U.S.C. § 227(b)(3)(C); and

              3. Such other and further relief as may be just and proper.

                      TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: June 7, 2017
                                                    Respectfully submitted,

                                                    By /s/ Jenny DeFrancisco

                                                    Jenny DeFrancisco, Esq.
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                                        Denver, Colorado 80206




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